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                              UNITED STATES DISTRICT COURT
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                             LTHE EASTERN DISTRICT OF VIRGI lA
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  HARRY L. GOODRICH
  and AGNES P. GOODRICH,

                    Plaintiffs,

                                                          Civil No, 4:I7cv9
                       V.



  JOHN CRANE, INC.,

                    Defendant.



                                            ORDER


         Before the Court is a report and recommendation ("R&R") filed in this matter by a

  United States Magistrate Judge in accordance with the provisions of 28 U.S.C. § 636(b)(1)(B)

  and Federal Rule of Civil Procedure 72(b). ECF No. 154. The R&R addresses the Motion in

 Limim to Exclude Evidence and Testimony Regarding the Alleged Knowledge or Negligence of

 the Navy brought by Harry L. Goodrich and Agnes P. Goodrich ("Plaintiffs"), ECF No. 72,

 which was referred to the Magistrate Judge for an R&R. The Magistrate Judge issued the R&R

 on August 24, 2018, and objections were filed subsequently. For the reasons stated herein, the

 Court now ADOPTS and APPROVES the findings and recommendations set forth in the R&R.

 I.      BACKGROUND


        The Magistrate Judge's R&R contains a recitation of the facts relevant to the pending

 Motion. Neither party has objected to the Magistrate Judge's factual findings, and this Court

 incorporates those findings in this Order.     In addition, the Court provides the following

 procedural background information in this matter.
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         On January 12, 2018, Plaintiffs filed a Motion in Limine to Exclude Evidence and

 Testimony Regarding the Alleged Knowledge or Negligence of the Navy, with a supporting

  memorandum. ECF Nos. 72, 103. The Motion and subsequent response by Defendant John

  Crane Inc. ("JCI") both address the Navy's alleged knowledge and negligence relating to (1) the

  sophisticated purchaser defense; (2) the government contractor defense; (3) superseding

  causation; and (4) state of the art evidence.

         On July 31, 2018, the Magistrate Judge determined that a portion of Plaintiffs' Motion

  seeks to strike two of JCI's affirmative defenses, and that portion of the motion is construed as a

  motion for summary judgment. ECF No. 149 (citing Goodman v. Praxair Servs., Inc., No. MJG-

  04-391, 2009 WL 10681955, at *1 (D. Md. June 16, 2009)); ECF No. 154. The Magistrate

  Judge issued an R&R on August 24, 2018 regarding those sophisticated purchaser and

  government contractor defenses, and recommended granting judgment in favor of Plaintiffs.

  ECF No. 154. Other aspects of Plaintiffs' Motion were addressed in a separate Opinion and

  Order issued by the Magistrate Judge that same day. ECF No. 155.

         Defendant JCI objected to the Report and Recommendation on September 7, 2018. ECF

 No. 160. Plaintiffs responded to JCI's objections on September 21, 2018. ECF No. 165. On

  September 24, 2018, JCI filed a Motion for Leave to File a Reply. ECF No. 166. The Court

 denied this motion on September 25,2018. ECF No. 170.

  II.    ANALYSIS

         A. Standard of Review


         Under Rule 72(b)(3) of the Federal Rules of Civil Procedure, a district judge is required

 to "determine de novo any part of the magistrate judge's disposition that has been properly

 objected to." Fed. R. Civ. P. 72(b)(3). The "de novo" requirement means that a district court
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 judge must give "fresh consideration" to the objected-to portions of the magistrate judge's report

 and recommendation. See Wilmer v. Cook, 774 F.2d 68, 73 (4th Cir. 1985) ("[A]ny individual

 findings of fact or recommendations for disposition by the [magistrate judge], if objected to, are

 subject to final de novo determination ... by a district judge"); United States v. Raddatz, 447

 U.S. 667, 675 (1980). "The district judge may accept, reject, or modify the recommended

 disposition; receive fiirther evidence; or reconunit the matter to the magistrate judge with

  instructions." Fed. R. Civ. P. 72(b)(3).

         B. Plaintiffs' Motion in Limine is GRANTED as it pertains to the sophisticated
            purchaser defense.

         The sophisticated purchaser defense derives from comment n of section 388 of the

 Second Restatement of Torts. Section 388 provides that:

         One who supplies directly or through a third person a chattel for another to use is
         subject to liability to those whom the supplier should expect to use the chattel
         with the consent of the other or to be endangered by its probable use, for physical
         harm caused by the use of the chattel in the manner for which and by a person for
         whose use it is supplied, if the supplier

         (a) knows or has reason to know that the chattel is or is likely to be dangerous for
         the use for which it is supplied, and
         (b) has no reason to believe that those for whose use the chattel is supplied will
         realize its dangerous condition, and
         (c) fails to exercise reasonable care to inform them of its dangerous condition or
         of the facts which make it likely to be dangerous.

  Restatement (Second) of Torts, § 388 (Am. Law Inst. 1965). Comment n to section 388 provides

 that:


         Chattels are often supplied for the use of others, although the chattels or the
         permission to use them are not given directly to those for whose use they are
         supplied. ... In all such cases the question may arise as to whether the person
         supplying the chattel is exercising that reasonable care, which he owes to those
         who are to use it, by informing the third person through whom the chattel is
         supplied of its actual character.

 Restatement (Second) of Torts, § 388, cmt. n.
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        Comment n also lists factors that a court is to consider when determining whether it was

 reasonable for a manufacturer to rely on a third party to warn the ultimate user, including:

        (1) the dangerous condition of the product; (2) the purpose for which the product
        is used; (3) the form of any warnings given; (4) the reliability of the third party as
        a conduit of necessary information about the product; (5) the magnitude of the
        risk involved; and (6) the burdens imposed on the supplier by requiring that he
        directly warn all users.

 Id.


        Defendant JCI objects to the R&R, arguing that the Magistrate Judge erred in relying on

 Oman v. Johns-Manville Sales Corp., 764 F.2d 224 (4th Cir. 1985) and Willis v. Raymark Indus.,

 905 F.2d 793 (4th Cir. 1990), instead of cases in which the plaintiffs employer actively

 participated in the design of the harmful product in question.' The Court overrules JCI's
 objection.

        The R&R correctly relied on the Oman and Willis decisions issued by the United States

 Court of Appeals for the Fourth Circuit. In Oman, the Fourth Circuit applied the comment n

 factors in affirming the district court's determination that manufacturers of asbestos-containing

 products were not entitled to a jury instruction regarding the sophisticated purchaser defense.

 Oman, 764 F.2d at 233. In Willis, the Fourth Circuit held that the manufacturers asserting a

 sophisticated purchaser defense "[did] not address one critical point: whether [the defendants]

 knew the extent of [the employer's] knowledge during or prior to the period of plaintiffs

 exposure," and ruled that the defendants "[could] not escape liability by reconstructing the past

 to show merely what the employer/purchaser knew." Willis, 905 F.2d at 797.



 ' JCI contends that the R&R "correctly rejected the [multi-district litigation court's] decision in"
 Mack V. Gen. Elec. Co., 896 F. Supp. 2d 333, 339^0 (E.D. Pa. 2012). ECF No. 160 at 6-8. To
 the contrary, the Magistrate Judge's determination that "[t]his Court need not go as far as" Mack
 takes no position with respect to Mack's holding. This Order likewise need not address the
 merits of the Mack decision.
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        Defendant JCI argues that "neither Oman nor Willis addressed a supplier defendant like

 JCI who was charged with a failure to warn of a hazard in a product the composition of which

 was dictated by the claimants' employer," and that the Navy possessed detailed information

 about the hazards of asbestos. ECF No. 160 at 9. Defendant's attempt to distinguish Oman and

 Willis is unavailing. The Fourth Circuit made clear through Oman and Willis that to successfully

 prove a sophisticated purchaser defense, a defendant must demonstrate that it reasonably relied

 on the employer to warn the uhimate users of the product. This holding applies to cases in which

 the defendant asserts a sophisticated purchaser defense regardless of whether the product was

 designed by the manufacturer or the employer. This reliability element is confirmed clearly as

 the fourth factor listed under comment n to section 388 of the Restatement.

        After acknowledging this requirement, the Magistrate Judge correctly determined that

 JCI has presented no contemporaneous evidence suggesting that JCI reasonably relied on the

 Navy to warn sailors such as Mr. Goodrich. In support of its defense, JCI instead presented (1)

 evidence meant to demonstrate that the Navy possessed knowledge about the hazards of

 asbestos; and (2) evidence regarding the product specifications that the Navy provided to

 manufacturers requiring the use of asbestos in gaskets and packing.

        Presenting evidence suggesting that the Navy knew about asbestos hazards is plainly

 insufficient under the dictates of Willis. Defendant JCI has provided no evidence that JCI was

 aware of the Navy's purported knowledge, and JCI could not have relied on knowledge it was

 unaware of at the time.


        With respect to the specifications, the Magistrate Judge appropriately distinguished cases

 cited by JCI purportedly holding that an employer's specifications are sufficient to absolve a

 manufacturer of liability. Defendant argues that the Magistrate Judge should have followed the
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reasoning exemplified in Spongier v. Kranco, Inc., 481 F.2d 373 (4th Cir. 1973).^ Spongier is
inapposite. In Spongier, the plaintiff was struck by an overhead crane manufactured by Kranco,

Inc., and operated by an employee of Reynolds Metal Company. Id. at 374. The Fourth Circuit

found that "[t]here was no defect in the crane itself nor in it any latent quality which caused

 Spangler's injury." Id at 375. Accordingly, the Fourth Circuit concluded that the case fell

"outside the ambit" of section 388. The Spongier Court never addressed the sophisticated

purchaser defense or the comment n factors.

        Other cases upon which JCI relies are also inapposite. The Court first notes that JCI's

objections advance the same arguments made to the Magistrate Judge regarding the decisions in

Morsholl V. H.K. Ferguson Co., 623 F.2d 882 (4th Cir. 1980); Fisher v. Monsonto Co., 863 F.

 Supp. 285 (W.D. Va. 1994); mdAntos v. BASF Corp., 1996 U.S. Dist. LEXIS 20604 (W.D. Va.

 July 15, 1996). The Magistrate Judge considered, and distinguished, each of these cases in the

 R&R. After independent review, this Court finds that the is R&R correctly and persuasively

reasoned. In Morsholl, as in Spongier, the court held that the plaintiff did not demonstrate a

defect in the product and that the case fell "outside the ambit" of section 388. Morsholl, 623

 F.2d at 886. Like Spongier, the Court never reached the sophisticated purchaser defense.

        In Fisher, the manufacturer presented letters demonstrating (1) that the manufacturer was

aware that the purchaser (who had initially developed the product) had sophisticated knowledge

about the dangers of the product; and (2) that the manufacturer provided warnings

notwithstanding such knowledge on the part of the purchaser. Fisher, 863 F. Supp. at 288; see

olso Boker v. Monsonto Co., 962 F. Supp. 1143,1153 (S.D. Ind. 1997).



^Plaintiffs assert that JCI never cited oraddressed Spongier until its objections to the R&R, and
fails to explain this omission. This Court similarly finds no previous citation to Spongier in
JCI's filings.
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        In Amos, the employer invented the harmful product and gave the defendant

 manufacturer specific assurances that it would train its employees and inform them about

 potential risks. Amos v. BASF Corp., 125 F.3d 847 (Table), at *1 (4th Cir. Oct. 1, 1997). This

 decision, like the rest of the decisions relied upon by JCI, are distinguishable fi-om the issues

 presented by this case, which involve applying the comment n factors.

        The R&R recognized that the decisions advanced by JCI to support its position also

 involve high levels of design input from purchasers that vastly exceed the Navy's input in the

 facts presented by this case. The related objection that the Magistrate Judge injected "an element

 not included in any of the cases—^whether the customer's specification was 'military' or

 'commercial,'" (ECF No. 160 at 10-11), arises from the R&R's reference that the products that

 JCI sold to private industrial consumers were the same as those products JCI sold to the United

 States Navy. This objection misconstrues the reference. The reference that JCI sold the same

 products to private consumers rebuts in part JCI's assertions that the Navy took a substantial role

 in designing the products the Navy purchased from JCI. The argimient that R&R "injected" an

 element not found in other cases is without merit.

        After correctly identifying the standards established by section 388 of the Restatement

 and Fourth Circuit case law, the R«&R evaluated the comment n factors and persuasively

 determined that JCI could not prove its defense as a matter of law. This conclusion is derived in

 part from the argument presented by JCI that its gaskets and packing products were not

 dangerous and did not require a warning. The Court agrees with the R&R that JCI cannot

 reasonably claim that it relied on the Navy to warn end users of its dangerous products and at the

 same time argue that its products were not dangerous. The Court adopts the R&R's thoroughly

 analyzed and supported findings and recommendations in its entirety.
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       C. Plaintiffs' Motion in Limine as it pertains to the government contractor defense

       Upon inquiry, JCI advised the Court that it is not asserting or relying upon the

government contractor defense in this case. Accordingly, the R&R recommended that summary

judgment be granted in PlaintifPs favor on the government contractor defense.      JCI has not

objected, and the Court adopts the R&R regarding the inapplicability of the government

contractor defense.


III.   CONCLUSION


       The Court, having reviewed the record and examined the Plaintiffs' objections to the

Report and Recommendation (ECF No. 154), and having made de novo findings with respect to

the portions objected to, ADOPTS and APPROVES the findings and recommendations set forth

in the Report and Recommendation. Plaintiffs' Motion in Limine (ECF No. 72), which the Court

has construed as a Motion for Summary Judgment, is GRANTED as to the inapplicability of

JCI's sophisticated purchaser and government contractor defenses.

       The Clerk is REQUESTED to send a copy of this Order to all counsel of record,

       IT IS SO ORDERED.




                                                              Arenb^, Wriisbf^itl en
                                                            United States District Judge


                        ,2018
